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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 IN RE:                                            §          Case No. 23-34815 (JPN)
 GALLERIA 2425 Owner, LLC.                         §
     Debtor                                        §          Chapter 11

                                      NOTICE OF APPEAL

Part 1: Identify the appellant

   1. Name of appellant:      2425 WL, LLC

   2. Position of appellant in the bankruptcy case that is the subject of this appeal:   creditor.

Part 2: Identify the subject of this appeal

       1. Describe the judgment—or the appealable order of decree—from which the appeal is

           taken:   Final Order Authorizing the Trustee to Use Cash Collateral (Dkt. #187) and

           Order Denying Motion for Reconsideration (Dkt. #223).

       2. State the date on which the judgment—or the appealable order or decree—was entered:

           The Final Order Authorizing the Trustee to Use Cash Collateral was entered on April 5,

           2024. The Order Denying Motion for Reconsideration was entered on April 22, 2024.

Part 3: Identify the other parties to the appeal

       1. Party:      Charles Murray,         Attorney:     R.J. Shannon
                      Chapter 11 Trustee                    Shannon & Lee, LLP
                                                            2100 Travis Street, Suite 1525
                                                            Houston, TX 77002
                                                            rshannon@shannonleellp.com

       2. Party:      National Bank of Kuwait Attorney: Andrew M. Troop
                                                        Pillsbury Winthrop Shaw Pittman LLP
                                                        31 West 52nd St
                                                        New York, NY 10019
                                                         Andrew.troop@pillsburylaw.com
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DATED: May 6, 2024.


                                          Respectfully Submitted,

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                                          Austin, Texas 78731
                                          Tel: (512) 476-9103

                                    By:   /s/ Stephen W. Sather
                                          Stephen W. Sather
                                          State Bar No.
                                          ATTORNEYS FOR
                                          CREDITOR, 2425 WL,LLC
